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                       IN   THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


 Snyder, et al.                                 Case No. 1:14-cv-8461
                                                (related to Snyder v. U.S. Bank, N.A.,
                  v.                            et al., No. 16-cv-11675)

 Ocwen Loan Servicing, LLC                      Hon. Matthew F. Kennelly



                              Amended Request for Expenses


         For the reasons stated on the record during the Final Approval Hearing held

April 5, 2018, co-counsel for the Settlement Class Ankcorn Law Firm PLLC reduces its

request for expenses from the common fund (dkt. 296, at 1) from $35,600 to $29,600.

The expenses sought by all Class Counsel is $96,380 in total between the five law firms.

See Motion for Fees, Costs, and Service Awards (dkt. 393), at 2.

         Respectfully submitted,

Dated:      April 5, 2018                    ANKCORN LAW FIRM PLLC
                                             /s/ Mark Ankcorn
                                             N.D. Illinois General Bar No. 1159690
                                             California Bar No. 166871
                                             Florida Bar No. 55334
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                                             Attorneys for Plaintiffs and
                                             Settlement Class




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                                  Certificate of Service

       I hereby certify that on the date listed above, I electronically filed the above and
foregoing notice and motion through the Court’s CM/ECF System, which perfected
service on all counsel of record.

                                             /s/ Mark Ankcorn




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